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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 AYMAN SAIED JOUMAA,

                    Plaintiff,

          v.                                         Civil Action No. 17-2780 (TJK)

 STEVEN MNUCHIN, et al.,

                    Defendants.


         REPLY IN SUPORT OF MOTION FOR LEAVE TO FILE SUR-REPLY

       Consistent with longstanding D.C. Circuit precedent, Defendants request leave to respond

to Plaintiff’s belated argument that he has standing to assert rights under the Fifth Amendment.

Although Plaintiff opposes Defendants’ request, he does not dispute that he failed to raise a

standing argument in his response to Defendants’ motion to dismiss or, in the alternative, for

summary judgment. See ECF No. 20 (“Pl.’s Opp.”), at 2-3. Nor does Plaintiff dispute that he

articulated his theory of standing for the first time in his reply memorandum in support of his

cross-motion for summary judgment. See id. Rather, Plaintiff contends only that Defendants’

proposed sur-reply is not warranted because his standing argument does not “present[] any new

matters” and because “Defendants have already had an opportunity to contest the issue of

Plaintiff’s standing.” See id. at 2-3. This argument, however, is without basis in fact or law.

The Court should therefore grant Defendants’ motion for leave.

       First, Plaintiff erroneously suggests that his untimely standing argument was not “new”

because it “was merely a response to arguments advanced in Defendants’ Memorandum in

Opposition to Plaintiff’s Cross-Motion for Summary Judgment.” Id. at 3. But Defendants

challenged Plaintiff’s standing to assert any rights under the Fifth Amendment in their opening
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memorandum in support of their dispositive motion, not in their consolidated reply and

opposition to Plaintiff’s cross-motion. See ECF No. 10-1 (“Defs.’ Mem.”), at 24-25 (explaining

that Plaintiff, as a foreign national with insufficient contacts with the United States, cannot avail

himself of the Fifth Amendment’s protections). After Plaintiff failed to respond to this

argument, see ECF No. 11-2 at 29-37; ECF No. 12-2 at 29-37, Defendants suggested in their

consolidated reply and opposition to Plaintiff’s cross-motion that the Court should treat

Defendants’ standing argument as conceded, see ECF No. 14 at 15-16; ECF No. 15 at 15-16.

Only then—that is, only after Defendants were able to address the points made in Plaintiff’s

opposition—did Plaintiff introduce his standing argument regarding Goldi Electronics SA in the

reply memorandum supporting his cross-motion. See ECF No. 16 at 18-20. Accordingly, and

unlike in Hispanic Affairs Project v. Perez, 206 F. Supp. 3d 348, 358 n.4 (D.D.C. 2016), cited in

Pl.’s Opp. at 3, Plaintiff has not “merely addressed issues raised in the [Defendants’]

opposition,” id., but instead has set forth a theory of standing at a juncture that has prevented a

substantive response by Defendants in the normal course of briefing. See Paleteria La

Michoacana, Inc. v. Productos Lacteos Tocumbo S.A. De C.V., 247 F. Supp. 3d 76, 93 (D.D.C.

2017) (explaining that, pursuant to the Local Rules, issues presented in a motion are typically

briefed in three memoranda: “(i) the movant’s opening memorandum; (ii) the non-movant’s

opposition; and (iii) the movant’s reply.” (internal quotation marks and citations omitted)).

       Further, Plaintiff’s theory of standing does not simply dispute the facts relied on by

Defendants but instead constitutes a “new” argument. See Lewis v. Rumsfeld, 154 F. Supp. 2d

56, 61 (D.D.C. 2001) (distinguishing, for purposes of considering motion for leave to file sur-

reply, “a new matter” from “an alleged mischaracterization” of the moving party’s position),

cited in Pl.’s Opp. at 1-2. Prior to Plaintiff’s reply memorandum, the only pleading that

suggested a potential theory of standing was Plaintiff’s Amended Complaint, which alleges that
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“Defendants’ actions have caused Plaintiff significant personal and financial harm, including the

blocking of two wire transfers of funds totaling approximately $340,000.00.” ECF No. 9 ¶ 10.

The Amended Complaint, however, omits any mention of Goldi Electronics SA, which, as noted

above, Plaintiff asserts for the first time in his reply memorandum is the supposed basis for the

Court’s subject-matter jurisdiction over his constitutional claim. Compare ECF No. 16 at 18-19

with ECF No. 9.1 Thus this theory of standing, otherwise absent from Plaintiff’s briefing, is one

that Defendants should have the opportunity to address. See Paleteria La Michoacana, 247 F.

Supp. at 94-95 (D.D.C. 2017) (granting defendant leave to file sur-reply to address plaintiff’s

argument, raised for the first time in plaintiff’s reply, that defendant lacked standing).

        Nor does “Defendants’ proposed sur-reply merely reiterate[] arguments already presented

to the Court.” See Pl.’s Opp. at 3. Defendants’ prior briefing addressed the reasons that

Plaintiff’s Amended Complaint is insufficient to establish standing to assert rights under the

Fifth Amendment. See Defs.’ Mem. at 24-25. By contrast, and in light of the theory advanced

for the first time in Plaintiff’s reply memorandum, Defendants’ proposed sur-reply centers on

Plaintiff’s relationship with Goldi Electronics SA. See ECF No. 17 at 2-3 (discussing Plaintiff’s

failure to carry his burden to establish standing given his vague and inconsistent representations

about the entity). Similarly, Defendants’ proposed sur-reply does not simply duplicate their

argument regarding waiver, see Pl.’s Opp. at 2-3; rather, it explains why Plaintiff’s reply

memorandum cannot constitute a withdrawal of his prior concession that he lacks standing, see

ECF No. 17-2 at 1-2 (citing Benton v. Laborers’ Joint Training Fund, 121 F. Supp. 3d 41, 51-52

(D.D.C. 2015), and Ferreyra v. Fraternal Order of Police Legal Plan, Inc., 53 F. Supp. 3d 69, 76

n.5 (D.D.C. 2014)). The case on which Plaintiff relies, Robinson v. Detroit News, is therefore


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  Plaintiff is thus incorrect in asserting that “Plaintiff’s standing argument . . . solely related to
facts identified in Plaintiff’s Amended Complaint.” Pl.’s Opp. at 3.
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inapposite. See 211 F. Supp. 2d 101, 113 (D.D.C. 2002) (striking the proposed sur-reply

“[b]ecause the plaintiff failed to file a motion for leave to file this surreply and because the

proposed surreply merely reiterates arguments already made and does not add anything new”),

cited in Pl.’s Opp. at 2.

        Defendants respectfully submit that, in light of the argument advanced by Plaintiff for the

first time in his reply memorandum, their proposed sur-reply, which analyzes Plaintiff’s

representations regarding Goldi Electornics SA, “would be helpful to the resolution” of the

parties’ pending dispositive motions. See Paleteria La Michoacana, Inc., 247 F. Supp. 3d at 94-

95 (citation omitted). Further, Plaintiff has offered no reason to conclude that he would be

“unduly prejudiced” by the proposed sur-reply. See Pl.’s Opp. at 1-3; Bayala v. U.S. Dep’t of

Homeland Sec., 246 F. Supp. 3d 16, 21 n.7 (D.D.C. 2017) (citation omitted). The proposed sur-

reply is thus an appropriate means by which Defendants can respond to Plaintiff’s untimely

standing argument. See, e.g., id.; Benton v. Laborers’ Joint Training Fund, 121 F. Supp. 3d 41,

51 (D.D.C. 2015).

        For the foregoing reasons, Defendants respectfully request that the Court grant their

motion for leave to file a sur-reply regarding Plaintiff’s standing argument.

        Dated June 21, 2018                            Respectfully submitted,

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                                                       /s/Stuart J. Robinson
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